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     ATTORNEYS FOR PLAINTIFFS
7
                                UNITED STATES DISTRICT COURT
8
            NORTHERN DISTRICT OF CALIFORNIA SAN FRANCISCO DIVISION
9
     BAYVIEW HUNTERS POINT RESIDENTS,                 Case No.: 3:19-cv-01417-JD
10   DANIELLE CARPENTER, CHRISTOPHER
     CARPENTER, DECEASED, BY DANIELLE
11                                                    NOTICE OF MOTION AND MOTION
     CARPENTER, REPRESENTATIVE AND
12   SUCCESSOR IN INTEREST; CATHERINE                 FOR LEAVE TO DISMISS THE CLASS
     MUHAMMAD, Including All Parties Listed           ALLEGATIONS AND FILE A SIXTH
13   In Exhibit A; and Doe Plaintiffs 1-40,000, on    AMENDED COMPLAINT;
     behalf of themselves, and all others similarly   MEMORANDUM OF POINTS AND
14                                                    AUTHORITIES IN SUPPORT THEREOF
     situated,
15           Plaintiffs,
             vs.
16   TETRA TECH EC, INC.; TETRA TECH,                 DATE: Thursday August 17, 2023
17
     INC; DAN L. BATRACK, In his Individual           TIME: 10:00 am
     and Official Capacity, CHAIRMAN, CHIEF           DEPT.: 11
18   EXECUTIVE OFFICER and PRESIDENT of               JUDGE: HONORABLE J. DONATO
     TETRA TECH; STEVEN M. BURDICK, In
19
     his Individual and Official Capacity,
20   EXECUTIVE VICE PRESIDENT,
     CHIEF FINANCIAL OFFICER OF TETRA
21   TECH; STEPHEN C. ROLFE, In his
     Individual and Official Capacity,
22
     MANAGING AGENT OF TETRA TECH EC
23   INC.; JUSTIN E. HUBBARD, In his
     Individual and Official Capacity,
24   MANAGING AGENT OF TETRA TECH EC
     INC.; LENNAR CORPORATION; and FIVE
25
     POINT HOLDINGS, LLC., and DOES 1-100
26   Inclusive,

27                  Defendants.

28
         MOTION FOR LEAVE TO DISMISS THE CLASS ALLEGATIONS AND FILE A SIXTH AMENDED
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1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2           PLEASE TAKE NOTICE THAT, on Thursday August 17, 2023 at 10:00 a.m., or as soon
3    thereafter as the matter may be heard, in the Courtroom of the Honorable James Donato, United
4    States District Judge for the Northern District of California, located at 450 Golden Gate Avenue,
5    San Francisco, California, the BAYVIEW HUNTERS POINT RESIDENT Plaintiffs will and
6    hereby do move for leave to file a Sixth Amended Complaint, removing the class allegations and
7    clarifying the claims against Defendants Lennar Corporation and Five Point Holdings, LLC
8    (collectively, “Developers”) and the Tetra Tech defendants. This motion is brought pursuant to
9    Federal Rule of Civil Procedure (“Rule”) 23
10
     Dated: July 6, 2023
11                                                 LAW OFFICES OF BONNER & BONNER

12                                                 /s/Charles A. Bonner
                                                   Charles A. Bonner
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                                                   Attorney for Plaintiffs
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1                        MEMORANDUM OF POINTS AND AUTHORITIES
2                              I.      INTRODUCTION/BACKGROUND
3           The predominantly African American neighborhoods in Bayview Hunters Point brought

4    this action to seek redress for their well-founded and reasonable belief that the fraudulent, criminal

5    cleanup of the former Hunters Point Naval Shipyard (“HPNS”) by Navy contractor Tetra Tech has

6    exposed them to a risk of cancers, asthma, and other debilitating respiratory illnesses. Plaintiffs

7    also named Developers as Defendants, seeking, among other things, an injunction to prevent

8    Developers from proceeding with their development at HPNS “until thorough, complete, and

9    verified test results prove that all the toxins and radioactive materials have been removed.” (ECF

10   114 ¶ 269). Across four separate amended complaints, Plaintiffs intentionally did not name the

11   Developers in any of the same causes of action as the ones asserted against Tetra Tech because

12   they saw the Developers as the less culpable parties and as victims of Tetra Tech’s fraud. Bonner

13   Decl. ¶ 12.

14          On June 17, 2020, however, Plaintiffs learned that Defendant Lennar Corporation

15   (“Lennar”) had resumed its development efforts and was digging and excavating a section of Parcel

16   A in the Hunters Point Shipyard directly adjacent to a chain-link fence dividing the Shipyard from

17   a school and residences along Kiska Road. Bonner Decl. ¶ 13. Many different members of the

18   community observed the digging and reported to their counsel. Bonner Decl. ¶ 14. Based on the

19   videos and photographs of the digging, Plaintiffs believe that Lennar was not sufficiently

20   implementing dust or particulates mitigation efforts. Id. Plaintiffs also contend that Lennar did

21   not adequately provide them notice under Proposition 65, as required by California law. Id.

22   Therefore, when Plaintiffs filed their Fifth Amended Complaint, they included additional

23   allegations and causes of action against Developers and other information learned during the

24   course of this litigation. Bonner Decl. ¶ 16.

25          On June 17, 2021, Plaintiffs filed a Motion for An Order To Show Cause Directing

26   Defendant LENNAR and FIVE POINT to show why a temporary restraining order should not

27   issue for their failure to comply with Proposition 65 regarding their release of toxic materials,

28   including radionuclides (ECF No. 132, “Show Cause Motion”). Bonner Decl. ¶ 17.

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1             Plaintiffs and Developers engaged in formal mediation efforts and negotiations before two
2    neutral mediators, the Honorable Daniel Weinstein (Ret.) and Lizbeth Hasse, Esq. at JAMS, and
3    were eventually able to reach an agreement on a proposed settlement of this action on November
4    23, 2021 (the “Settlement”). Bonner Decl. ¶ 15, 20 and 22).
5             On December 8, 2022, the Bay View Hunters Point Resident Plaintiffs, on behalf of
6    themselves and those similarly situated, moved the Court for an order for preliminary approval of
7    the Bayview Hunters Point Residents class action settlement with the Homebuilders (ECF 186).
8    In the motion, the parties sought preliminary approval of a Settlement on behalf of the following
9    class:
10
              All current residents of Postal Zip Code 94124 and any individuals who previously
11            resided in Postal Zip Code 94124 at any time between January 1, 2004 and the date
              on which this Settlement Agreement receives preliminary approval, as well as all
12            parties named in Amended Exhibit A to Plaintiffs’ Fifth Amended Complaint. (ECF
13
              Doc 154).

14            Excluded from the Class are those individuals whose claims against Developers
              have been released under the terms of the settlement agreement in Pennington et
15            al. v. Tetra Tech Inc., et al., Case No. 3:18-cv-05330 (N.D. Cal.), ECF Nos. 123-1,
16
              224; the Judge presiding over this Action and members of the Court’s staff;
              Developers, including Developers’ subsidiaries, parent companies, successors,
17            predecessors, and any entity in which Developers or its parents have a controlling
              interest and their current or former officers, directors, and employees; and Defense
18
              Counsel.
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              The Court denied the motion for preliminary approval. (ECF 191). In its order, the Court

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     raised concerns regarding the “disparately situated” nature of the class members, stating, “The

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     proposed class is made up of individuals who are disparately situated, such as those with wrongful
     death claims, those who lived in Hunters Point for decades, and others who may only have lived
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     in Hunters Point for a period of months or weeks. It is not at all clear that common questions would
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25
     predominate for this proposed class. Fed. R. Civ. P. 23(b)(3); Amchem Products, Inc. v. Windsor,

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     521 U.S. 591 (1997).” (ECF 191). During the argument on the motion, the Court also raised
     concerns about utilizing the zip code (94124) to define the class. (ECF 194 Transcript of
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1    Proceeding 7:22-8:3). The Court also raised concerns regarding the scope of the release, which
2    included releasing the homebuilders from all claims, including wrongful death claims. Id. at 12.
3            After careful consideration of the facts, evidence, and law, the Plaintiffs seek to file a Sixth
4    Amended complaint, voluntarily dismissing the class allegations, moving forward as a mass action
5    and more clearly delineating the claims against the Homebuilders and those against the Tetra Tech
6    Defendants. A copy of the proposed Sixth Amended Complaint is attached to the Declaration of
7    Charles A. Bonner as Exhibit A.
8                                                II.   ARGUMENT
9    A.      THIS COURT SHOULD GRANT PLAINTIFFS’ MOTION TO AMEND

10
             Federal Rule of Civil Procedure Rule 15 (a)(2) provides the following: Other

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     Amendments. In all other cases, a party may amend its pleading only with the opposing party’s

12
     written consent or the court’s leave. The court should freely give leave when justice so requires.

13
     Fed Rules Civ Proc R 15.

14
             Prior to seeking a Court order to file a Sixth Amended Complaint, and before the deadline

15
     to file a motion for class certification, Plaintiffs reached out to the Defendants, requesting a

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     stipulation to file a Sixth Amended Complaint. Bonner Decl. ¶ 23. The three Defendants all

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     declined to stipulate to an order granting Plaintiffs leave to file a Sixth Amended Complaint. As a

18
     result, Plaintiffs filed this motion. Id.

19               1. The Sixth Amended Complaint Properly Seeks to Remove the Class Allegation

20           Plaintiffs initiated this lawsuit after learning about how their community was being

21   devastated by the contamination that Tetra Tech was supposed to clean up. Bonner Decl. ¶¶ 5-6.

22   During the course of litigation, there were many community meetings discussing the impact of

23   Tetra Tech’s eco fraud. Id. At these meetings, the overwhelming majority of the people who were

24   present, approximately 200-300 at any given meeting, were suffering various illnesses they

25   believed were caused by the toxic releases from the Shipyard, including radiation. Id.

26           In addition to meeting with the community members, prior to filing the class action law

27   suit, Plaintiffs’ counsel engaged in substantial and extensive research into the history of the

28   Hunters Point Naval Shipyard, the contamination, the superfund site, Tetra Tech’s failure to

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1    perform the contracted-for clean-up, and many reports and findings regarding Tetra Tech’s fraud.
2    Bonner Decl. ¶ 6. Counsel reviewed various medical articles regarding the health effects of
3    ionizing radiation and medical studies regarding cancer rates in Hunters Point being significantly
4    higher than cancer rates in other Bay Area locations. Id. Counsel also consulted with experts in the
5    matter of radiation, including Chris Busby, Ph.D., Mark Alexander, M.D., an epidemiologist, and
6    Ahimsa Porter Sumchai, MD, who had conducted numerous urine analyses of people living in
7    Hunters Point. The various urine analyses reflected residual radionuclides in their urine that could
8    only have been caused by the radiation at the Shipyard. Id.
9           On May 1, 2018, Plaintiffs filed the initial complaint in San Francisco Superior Court of
10   California on behalf of only 149 individuals and a putative class of over 38,000 residents. Plaintiffs
11   filed as a class action in an attempt to create a pathway for recovery for all impacted residents.
12   Bonner Decl. ¶ 7.
13          On February 13, 2019, Bonner & Bonner filed, and served on Tetra Tech, the Second
14   Amended Complaint, on behalf of 2555 plaintiffs and the putative class of individuals who lived
15   or spent significant time in the 94124 Zip Code. (ECF Doc 1- Notice of Removal). The lawsuit
16   was open to residents and non-residents as long as the individuals had significant contact with the
17   94124 Zip Code. Bonner Decl. ¶ 8.
18          By Stipulation, on November 18, 2019, Bonner & Bonner filed a Third Amended
19   Complaint on behalf of 3929 individual named plaintiffs and a putative class (ECF 29).
20          Following a further stipulation, On March 20, 2020, Bonner & Bonner filed a Fourth
21   Amended Complaint (“4th AC”) (ECF 43). The 4th AC named Defendants LENNAR, INC. and
22   FIVE POINT HOLDINGS, LLC, solely in the thirteenth cause of action for injunctive relief.
23   Bonner Decl. ¶ 11. Paragraph 239 of the Fourth Amended Complaint states the following:
24   “Plaintiffs have repeatedly demanded that DEFENDANTS stop the development until thorough,
25   complete, and verified test results prove that all the toxins and radioactive materials have been
26   removed, but DEFENDANTS have ignored Plaintiffs’ demands.” Plaintiffs named the
27   Homebuilders in an effort to prevent them from taking further steps to develop the property and
28   thereby potentially release additional toxins into the community. (ECF 43).

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1           On or about April 30, 2021, PLAINTIFFS filed their Fifth Amended Complaint, which
2    included additional substantive allegations against the Homebuilders (ECF 114). However, the
3    Fifth Amended Complaint did not adequately distinguish between the conduct of the
4    Homebuilders and that of Tetra Tech, combining the allegations against the Defendants in the same
5    causes of action. Bonner Decl. ¶ 16.
6           On June 17, 2021, Plaintiffs filed a Motion for An Order To Show Cause Directing
7    Defendant LENNAR and FIVE POINT to show why a temporary restraining order should not
8    issue for their failure to comply with Proposition 65 regarding their release of toxic materials,
9    including radionuclides (ECF 132, “Show Cause Motion”).
10          On September 21, 2021, Plaintiffs filed an amended and corrected Exhibit A listing 9,517
11   individually named Plaintiffs in the Fifth Amended Complaint (ECF 154).
12          The initial complaints were styled as class actions, with the intention to provide recovery
13   to as many affected community members as possible. Having more than 9,500 individual Plaintiffs
14   has obviated the need for a broader class action.
15          Further, after careful consideration of the Court’s order, a class is likely not legally
16   recognizable, given the “disparately situated” nature of the class members. (ECF 191). Further,
17   given the numerous ways potential class members could have contact with the Hunters Point
18   community, e.g., as a resident, as a student, as an employee, or as a parishioner, identifying,
19   noticing, and verifying proper class members is not practicable. Based on these facts, Plaintiffs
20   seek to dismiss their class allegations and move forward solely with the 9,500 named Plaintiffs.
21              2. The Dismissal of the Class Allegations is Pre-Certification and Not For the
22              Purpose of Settlement
23          Court approval is only required to voluntarily dismiss the claims of a certified class, or a
24   class proposed for settlement. “The claims, issues, or defenses of a certified class—or a class
25   proposed to be certified for purposes of settlement—may be settled, voluntarily dismissed, or
26   compromised only with the court’s approval.” Fed Rules Civ Proc R 23(e). Here, dismissal is
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1    sought prior to certification and after the rejection of the proposed class settlement. (See ECF
2    191):
3            The proposed class is made up of individuals who are disparately situated, such as
4            those with wrongful death claims, those who lived in Hunters Point for decades,
5            and others who may only have lived in Hunters Point for a period of months or
6            weeks. It is not at all clear that common questions would predominate for this
7            proposed class. Fed. R. Civ. P. 23(b)(3); Amchem Products, Inc. v. Windsor, 521
8            U.S. 591 (1997).
9    Further, the Court rejected a class based on the 94124-zip code:
10           “I also don't really understand this Post Office -- sorry, postal code designation
11           94124 as the definition of the class. I don't know -- there's no explanation. Is that
12           post zip code area? Is it the same as the Hunters Point Naval Station? Is it next to
13           it? Is it over inclusive? Is it under inclusive? I know it's convenient, but I just
14           didn't see how it related to the contamination at the Naval site.”
15   ECF 194: Transcript of Proceedings. Accordingly, the class allegations are being removed from
16   the case but not dismissed with prejudice to the putative class members and therefore, the claims
17   are not resolved and can still be acted upon by the putative class. See Notes of Advisory
18   Committee on 2003 amendments:
19           “Rule 23(e)(1)(A) resolves the ambiguity in former Rule 23(e)’s reference to
20           dismissal or compromise of “a class action.” That language could be — and at
21           times was — read to require court approval of settlements with putative class
22           representatives that resolved only individual claims. See Manual for Complex
23           Litigation Third, § 30.41. The new rule requires approval only if the claims,
24           issues, or defenses of a certified class are resolved by a settlement, voluntary
25           dismissal, or compromise.”
26           Based on the court’s order and the comments during argument, and after further research,
27   the deficiencies raised by the court cannot be fixed. The relief requested by Plaintiffs will not
28   prejudice putative class members. They are not bound by any agreement and the class allegations

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1    are not being dismissed with prejudice. Further, give the large number of named Plaintiffs whose
2    cases will continue in the mass action, individuals with valid claims who chose to participate in
3    the lawsuit will still have an opportunity for recovery.
4               3. The Sixth Amended Complaint Properly Seeks to More Clearly Delineate the
5               Claims Against the Homebuilders and Tetra Tech
6           The Tetra Tech Defendants are primarily responsible for the persistence of toxic soils at
7    HPNS, which created the need for Developers to comply with and impose dust mitigation
8    measures. As discussed above and as set forth in the motion for preliminary approval (ECF 186
9    pg 9), Developers were initially named as Defendants primarily in an effort to prevent further
10   development of Parcel A, and Plaintiffs only recently brought additional causes of action against
11   Developers after Plaintiffs became aware that Lennar had resumed excavating and digging without
12   complying with either Proposition 65 notice requirements and/or dust or particulate mitigation
13   requirements.
14          However, in the Fifth Amended Complaint, Plaintiffs failed to clearly delineate and
15   differentiate between the claims against the Homebuilders as opposed to the claims against the
16   Tetra Tech Defendants. This failure caused confusion during the hearing on Plaintiffs’ Motion for
17   Preliminary Approval when explaining that the gravamen of the complaint against the
18   Homebuilders was the 2020 digging. The Sixth Amended Complaint seeks to clarify the
19   allegations and separate the claims against the Homebuilders from those against Tetra Tech. This
20   request is consistent with Federal Rule of Civil Procedure Rule 15 (a)(2).
21              4. The Sixth Amended Complaint Does Not Add Any Additional Cause of
22              Action, Allegations, or Plaintiffs
23          The Proposed Sixth Amended Complaint does not add any additional causes of action, nor
24   does is add additional facts or allegations. Rather, it streamlines the causes of action, removing
25   those causes of action dismissed by the Court. (See ECF 174) and separating the causes of action
26   against Tetra Tech from those against the Homebuilders. Further, the Sixth Amended Complaint
27   removes factual allegations that primarily related to the dismissed fourth and sixth causes of action.
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1           The Proposed Sixth Amended Complaint does not seek to add any additional Plaintiffs and
2    will relate back to the Plaintiffs named in the Amended Exhibit A (ECF 154)
3                                          III.   CONCLUSION
4           Good cause exists for an order granting the Motion to Dismiss The Class Allegations And

5    File A Sixth Amended Complaint because of the diverse damages, injuries and loss suffered by

6    the Plaintiffs. Some Plaintiffs have cancer, respiratory illnesses, rashes, and various other health

7    problems associated with and caused by the releases of toxins in the community. Other Plaintiffs

8    have claims for wrongful death. This diverse array of claims will not comply with Fed. Rule 23

9    for class certification. Judicial economy will benefit from this case proceeding as a “Mass

10   Action”, rather than a Class Action. Hence, this Motion for leave to Dismiss The Class

11   Allegations And File A Sixth Amended Complaint.

12   Dated: July 6, 2023                           Respectfully submitted.
13
                                                   LAW OFFICES OF BONNER & BONNER
14

15
                                                   /s/Charles A. Bonner
16
                                                   Charles A. Bonner
                                                   Attorney for Plaintiffs
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